        Case 1:20-cv-01168-ABJ Document 34 Filed 09/22/21 Page 1 of 3




                                      District of Columbia


       Ayman Saleh, et al.




                                                                      20-1168

Khalifa Bin Zayed Al Nahyan, et al.




                                SUMMONS IN A CIVIL ACTION

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09/22/2021
     Case 1:20-cv-01168-ABJ Document 34 Filed 09/22/21 Page 2 of 3




09/22/2021                                   /s/Jackie Francis
     Case 1:20-cv-01168-ABJ Document 34 Filed 09/22/21 Page 3 of 3




09/22/2021                                  /s/Jackie Francis
